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   1   VICTOR SHERMAN (SB 38483)
       victor@victorsherman.law
   2   DIANA SPIELBERGER (SB 109967)
       diana@janddlaw.com
   3   JAY STATMAN (SB 94470)
       jay@janddlaw.com
   4   LAW OFFICES OF VICTOR SHERMAN
       11400 W. Olympic Blvd., Suite 1500
   5   Los Angeles, CA 90064
       Telephone: (310)399-3259
   6   Fax: (310)392-9029

   7   ROBERT KLEIN (SBN 128550)
       robert@kleinlitigation.com
   8   8383 Wilshire Blvd., Ste. 935
       Beverly Hills, CA 90211
   9   (833)997-5529

  10
       Attorneys for Defendants
  11
  12                         UNITED STATES DISTRICT COURT

  13                       CENTRAL DISTRICT OF CALIFORNIA

  14
       MICHAEL ANDREW ROBINSON, ) Case no. 2:21-cv-06689-RGK-(JCx)
  15   an individual; GRABBA LEAF, LLC, )
       a Florida limited liability corporation, ) Action commenced August 18, 2021
  16                                            )
                           Plaintiffs,          ) The Hon. R. Gary Klausner, Courtroom
  17                                            ) 850
                    vs.                         )
  18                                            ) DECLARATION OF KHALED
       BEST PRICE DISTRIBUTORS, LLC, ) AHMED IN SUPPORT OF REPLY IN
  19   a California limited liability company, ) SUPPORT OF DEFENDANTS’
       doing business as WESTERN                ) MOTION IN LIMINE NO. 1: TO
  20   WHOLESALE and as QUICK                   ) EXCLUDE REFERENCE TO AHMED
       TOBACCO WHOLESALE; KHALED ) CONVICTION
  21   M. AHMED, an individual; and             )
       SANDRA S. CERVANTES, aka                 ) Trial date: November 8, 2022
  22   SANDRA AHMED, and DOES 1-10, )
                                                )
  23                       Defendants.          )
       _______________________________ )
  24                                            )
       AND RELATED COUNTERCLAIM )
  25   _______________________________ )

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            DECLARATION OF KHALED AHMED IN SUPPORT OF REPLY TO MOTION IN LIMINE NO. 1
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   1         I, KHALED AHMED, declare as follows:

   2         1. I am one of the Defendants in this action. The following facts are

   3   personally known to me, and if called upon, I could and would competently testify

   4   thereto.

   5         2. In their opposition to Defendants’ Motion in Limine No 1, Plaintiffs claim

   6   that the matter in which I plead guilty was later ordered related to Case No.: 03-

   7   CR-432 MCE (E.D. Cal.). This is incorrect. The dismissed Case No. 02-Cr 0097 was

   8   later ordered related to Case 03 CR-432 MCE. The case I plead guilty is Case No.

   9   04 CR 1214 which was not any of those two cases. Plaintiffs also claim that I falsely

  10   insinuated in my declaration filed in support of that Motion that the other two cases

  11   filed against me in 2002 and 2003 were summarily dismissed when, in fact they

  12   were deemed related, and not dismissed until 2011. That, too, is incorrect. The

  13   government dismissed Case 2:02-cr-00097. However, before my bond was released,

  14   the government stated that it was going to be filing a new indictment which would

  15   have required a new bond. It was not the government who originally requested that

  16   the two cases be related to the new Case No. 03-CR-432 MCE. The only reason the

  17   two cases were kept as related cases was to keep the same condition of pretrial

  18   release bond in place.

  19         3. Plaintiffs state, in Page 4, line 3 of the Opposition that I claim that the fraud

  20   occurred mostly in 1996, yet the government's trial brief provides a four-year time

  21   frame. That statement is misleading: although the indictment provided for a

  22   four-year time frame, almost all the discovery received from the government was for

  23   allegedly fraudulent claims submitted to the Medi-Cal Program in 1996.

  24         4. I was never indicted, convicted or plead guilty to any crime before the one

  25   in which I plead, and I have not been indicted, convicted or plead guilty to any crime

  26   since. I am not a California licensed medical doctor or physician assistant. As such I

  27   could not have applied for, or received a Medi-Cal or Medi-care provider number. I

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             DECLARATION OF KHALED AHMED IN SUPPORT OF REPLY TO MOTION IN LIMINE NO. 1
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   1   did not, therefore receive any money from Medi-Cal or the Medi-Care. Moreover, I

   2   have never owned a medical clinic in California at any time.

   3         5. In fact, I sought to have the guilty plea set aside. I plead to end the case and

   4   move on with my life. However, after I plead guilty to one count of Health Care

   5   Fraud/Conspiracy, I discovered new evidence which was unknown to me before I

   6   signed the Plea Agreement. I learned through third party sources that the

   7   government had not disclosed vital “Brady” and “Jincks” material evidencing that I

   8   did not commit any healthcare fraud. I also learned that there was exculpatory

   9   material existed that was in possession of the Medi-Cal Family PACT Program

  10   which reflects that all the investigations against the physicians who owned the

  11   medical clinics at issue and whom the government stated that I consipred with in

  12   order to commit healthcare fraud had ended, and the Medi-Cal Program found no

  13   wrong doings and released all their funds withheld. In addition, the government had

  14   not disclosed Brady material which consisted of the transcripts of all interviews with

  15   the employees of the clinic, the pharmacy and the medical laboratory who testified

  16   that no fraud has ever been committed. Had I know these facts, I would have not

  17   agreed to plead guilty to healthcare fraud/conspiracy charge.

  18         6. The criminal case against me originated in the Eastern District of

  19   California. It was transferred to the Central District. The plea at issue was made in

  20   the Central District, which occurred in 2006. However, the “shell” case in the

  21   Eastern District was not disposed of until February 2011, when I discovered the

  22   foregoing.

  23         7. I satisfied all the terms and conditions of my release on January 8, 2008.

  24   The court did so in 2011.

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             DECLARATION OF KHALED AHMED IN SUPPORT OF REPLY TO MOTION IN LIMINE NO. 1
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